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UNITED STA TES DISTRICT Co URT
WESTERN DISTRICT OF TENNES.§j§j;';lj§:13f -3 p;s,- g= 28

 

 

WESTERN DIVISION
JOHNNY JOHNSON, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
SHELBY COUNTY SCHOOLS, CASE NO: 03-2911-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Granting
Defendant’s Motion For Summary Judgment entered on April 29, 2005, this cause is hereby
dismissed and judgment is entered in favor of the defendant, Shelby County Schools and
against the plaintiff, Johnny Johnson.

A OVED:

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501 O» ziaé‘@&
Date Clerk Court

RUBERT R. Dl THOLlO

(\B_y) Deputy Cie“r'k

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:03-CV-029]1 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listcd.

 

 

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Honorable J. Breen
US DISTRICT COURT

